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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                        )
                                                     )
                   Plaintiffs,                       )
                                                     )
vs.                                                  )    No. 1:17-cv-00365-DAE-AWA
                                                     )
GRANDE COMMUNICATIONS                                )
NETWORKS LLC,                                        )
                                                     )
                   Defendant.
                                                     )

               PLAINTIFFS’ OBJECTIONS AND COUNTER-DESIGNATIONS TO
               DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S
                             DEPOSITION DESIGNATIONS

            Plaintiffs submit the following Objections and Counter-Designations to Defendant Grande

Communications Networks, LLC’s Deposition Designations pursuant to the Court’s Order Setting

Jury Selection/Trial and Related Deadlines (ECF No. 275). Plaintiffs reserve the right to amend

these objections and counter-designations, and to interpose additional objections and counter-

designations, based on evidence or arguments that Grande presents or attempts to present at trial.

      Code             Objection
      A                Argumentative
      ATTY             Attorney objections/colloquy not removed
      AA               Asked and answered/duplicative
      BER              Best Evidence Rule
      C                Compound
      CC               Calls for conclusion
      D                Designation incomplete; incomprehensible
      IH               Improper hypothetical
      SM               Subject to a pending/forthcoming motion
      M                Misstates prior testimony
      NR               Non-responsive
      O                Overbroad
      V                Vague and ambiguous
      30(b)(6)         Outside the scope of the Fed. R. Civ. Proc. 30(b)(6) deposition topics for
                       which witness was designated
      103              Assumes facts not in evidence
      104              Lacks foundation

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402            Not relevant
403            Probative value is substantially outweighed by a danger of unfair prejudice,
               confusing the issues, misleading the jury, undue delay, wasting time, or
               needlessly presenting cumulative evidence.
408            Settlement Negotiations
501            Privilege
602            Calls for speculation; speculative
611c           Leading
701            Improper opinion by lay witness
702            Improper opinion by expert
802            Hearsay
901            Not properly authenticated



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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on January 30, 2020, all counsel of record who are deemed
to have consented to electronic service are being served with a copy of this document via the
Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).


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